
NicholsON, C. J.,
delivered the opinion of the Court.
Calvin Logston was indicted for murder in Fentress county. His cause was transferred by change of venue to Scott, where he was tried and convicted, and an appeal taken to this Court. The judgment was reversed here, upon the ground that the Circuit Court of Scott county had no jurisdiction of the case, the same having been illegally transferred to that county from Fentress. The defendant was remanded to Fentress, where the District Attorney General entered a nolle prosequi upon the indictment on which he had been tried in Scott. Whereupon, the costs were ordered to be taxed; but no costs for the case, while it was pending in Scott county, were taxed. Afterwards, a motion was made in the Circuit Court of Scott county, for the re-taxation of the costs of this cause, while pending in that county. The motion was sustained by the Circuit Judge, and the costs properly chargeable to the State were ordered to be re-taxed. From this order the District Attorney General appealed to this Court.
We are unable to find any authority for the action of the Circuit Court of Scott county. The proceedings there were ooram non jucliee, and void. Nor had the Circuit Court of Fentress any power to tax the costs after the case had been removed from that county to Scott. It seems to be a case in which this Court can give the parties no relief. The Legislature alone can furnish a remedy.
The order of the Circuit Court will be reversed, and the motion be disallowed and dismissed.
